        Case 2:18-cv-00069-RAJ-DEM Document 216-2 Filed 10/14/20 Page 1 of 7 PageID# 6596
                                           UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF VIRGINIA
                                                   Norfolk Division


                                                                                     EXHIBIT LIST
 Latasha Holloway & Georgia Allen
PLAINTIFF
                             V.
                                                                                     Case No: 2:18cv69
City of Virginia Beach, Virginia, Virginia
Beach City Council, Louis Jones, Jessica Abbott,
James Wood, Robert Dyer, Barbara Henley, John
Moss, Rosemary Wilson, Donna Patterson, Aaron R.
Rouse, Sabrina Wooten, Guy Tower, Michael Berlucchi,
Patrick Duhaney, in his official capacity as City
Manager for the city of Virginia Beach
DEFENDANTS



 PRESIDING JUDGE                                 COURTROOM DEPUTY                   COURT REPORTER
 Raymond A. Jackson                              P. Thompson                        Carol Naughton, OCR
 HEARING DATE(S)                                 PLAINTIFF ATTORNEY(S)              DEFENDANT ATTORNEY(S)
 10/6/20 - 10/14/20                              Robert Weiner, Christopher         Gerald Harris, Christopher
                                                 Lamar, Dana Paikowsky, Simone      Boynton, Erika Prouty, Joseph
                                                 Leeper and Ruth Greenwood          Kurt, Katherine McKnight and
                                                                                    Patrick Lewis

 PLA        DFT    DATE           Marked     Admitte
 NO.        NO.    Offered                   d                           DESCRIPTION OF EXHIBITS

                                                                              Georgia Allen
 145               10/6/20                   X         Transcript of 2001 Virginia Beach Redistricting
                                                       Public Hearing
 349               “         “               X         3/19/2002 Transcript of City Council Meeting
 350               “         “               X         4/14/2002 Virginia Beach Beacon Op-Ed by John
                                                       Atkinson
            165    “         “    X                    11/8/19 Vision to Action Community Coalition
                                                       Meeting Minutes
            166    10/6/20        X                    2/6/10 Filling a seat at the table, Virginian-Pilot


                                                                             Anthony Fairfax
 75                10/6/20                   X         Expert Report of A. Fairfax, 7/15/19

 76                “         “               X         Appendices to Expert Report of A. Fairfax, 7/15/19
 79                “         “               X         Rebuttal Report of A. Fairfax, 8/26/19
 80                “         “               X         Appendices to Rebuttal Report of A. Fairfax,
                                                       8/26/19
 84                10/6/20                   X         Supplemental Expert Report of A. Fairfax, 3/16/20
                                                                                         (continued on page 2)
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                                                   Anthony Fairfax, cont’d
85          10/6/20          X      Appendices to Supplemental Expert Report of A.
                                    Fairfax, 3/16/20
86          “     “          X      Updated CV of A. Fairfax, March 2020

432         “     “    X            Demonstrative charts
a –
432
k

      167   10/6/20    X            6/24/20 Deposition of A. Fairfax Vol. II



                                                      Del. Kelly Fowler

419         10/7/20          X      Flyer

      151   “     “          X      Map of current configuration of HD21

      168   10/7/20    X            9/24/20 Deposition of Del. K. Convirs-Fowler



                                                     Dr. Douglas Spencer

77          10/7/20          X      Expert Report of Dr. D. Spencer, 7/15/19

81          “     “          X      Rebuttal Report of Dr. Spencer, 8/26/19

87          “     “          X      Supplemental Expert Report of Dr. Spencer, 3/16/20

      132   “     “          X      U.S. Census Data for City of Virginia Beach

101         “     “          X      Coalition Estimates – Supplemental Material
                                    Produced by Dr. Spencer

      169   10/7/20    X            10/1/19 Deposition of Dr. Douglas Spencer



                                                        Sabrina Wooten

277         10/7/20          X      Virginia Beach Minority Business Council FY2018
                                    Annual Report



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                                                       Latasha Holloway

      170   10/7/20    X            6/8/20 Complaint for Divorce

      171   10/7/20    X            9/12/19 Deposition of Latasha Holloway



                                                        Andrew Jackson

210         10/8/20          X      4/12/11 A. Jackson Position/Policy Proposal re:
                                    City’s election system

      11    “     “          X      Redistricting – U.S. Department of Justice
                                    Submission (2011) – City of Virginia Beach, Vol II

138         10/8/20          X      9/9/11 Letter from Virginia Beach City Attorney to
                                    A. Jackson




78          10/8/20          X      Dr. Allan J. Lichtman Expert Report, 7/15/19

82          “     “          X      Rebuttal report of Dr. Allan J. Lichthman, 8/26/19

83          “     “          X      Supplemental Table R3-A and Chart R3-A produced by
                                    Dr. Allan J. Lichtman

430         “     ”          X      Deposition of Allan Lichtman – Transcript

431         “     “          X      Deposition of Allan Lichtman – Video

420         10/8/20          X      Deposition Excerpts from Sabrina Wooten

421         “     “          X      Deposition Excerpts from Aaron Rouse

422         “     “          X      Deposition Excerpts from John Moss

423         “     “          X      Deposition Excerpts from Jessica Abbott

424         “     “          X      Deposition Excerpts from Robert Dyer

425         10/8/20          X      Deposition Excerpts from David Hansen



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426         10/8/20          X      Deposition Excerpts from James Wood

427         “     “          X      Deposition Excerpts from Louis

428         10/8/20          X      Deposition Excerpts from Rosemary Wilson



                                                        Kimball Brace



501         10/8/20    X            Kimball Brace 9/17/20 Deposition Transcript

      107   “     “          X

      18    “     “          X      Official Election Results from 11/2010 Virginia
                                    Beach General Election

      10    “     “          X      Redistricting – U.S. Department of Justice
                                    Submissions (2011) – City of Virginia Beach, Vol I

      DDX   “     “    X            Centerville Precinct Election Results
      1

      20    “     “          X      Official Election Results from 11/2011 Virginia
                                    Beach General Election (Multiple Races)

      23    10/8/20          X      Official Election Results from 11/2012 Virginia
                                    Beach General Election (Multiple Races)

      25    “     “          X      Official Election Results from 11/2013 Virginia
                                    Beach General Election (Multiple Races)

      27    “     “          X      Official Election Results from 11/2014 Virginia
                                    Beach General Election (Multiple Races)

      29    “      “         X      Official Election Results from 11/2015 Virginia
                                    Beach General Election (Multiple Races)

      32    “     “          X      Official Election Results from 11/2016 Virginia
                                    Beach General Election (Multiple Races)

      35    10/8/20          X      Official Election Results from 11/2017 Virginia
                                    Beach General Election (Multiple Races)



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                                                    Kimball Brace, cont’d

      37    10/8/20          X      Official Election Results from 11/2018 Virginia
                                    Beach General and Special Elections (Multiple
                                    Races)

436         10/9/20    X            Meza v. Galvin, Decided 6/21/04



                                                        Benito Loyola

451         10/9/20    X            B. Loyola Deposition



                                                       Nonato Abrahano

452         10/9/20    X            N. Abrahano Deposition



                                                         Taylor Adams

      52    10/9/20          X      A Resolution Setting a 10% Goal for Minority
                                    Participation in City Contracts

      51    “     “          X      An Ordinance Directing City Manager to Develop a
                                    Program for Prequalification of Construction
                                    Contracts Between $100,000 and $500,000

      50    “     “          X      SWaM Small business Enhancement

      44    “     “          X      SWaM Procurement Programs and Disparity Study
                                    Overview

      173   “    “     X            7/11/17 Resolution of City Council Item #67214

      45    “     “          X      Email with Attachment from T. Adams to Tom Leahy
                                    re: FY18 Preliminary Expenditures to Minority Owned
                                    Businesses

      70    10/9/20          X      Letter with attachments from City Manager David
                                    Hansen to Mayor and Council Members regarding
                                    Disparity Study Briefing



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                                                    Taylor Adams, cont’d)

      68    10/9/20          X      Letter from City Manager Hansen to Mayor and
                                    Council Members regarding Disparity Study Final
                                    Report

      49    “     “    X            Resolution to set a 12% Aspirational Goal for
                                    Minority Owned Business Participation in City
                                    Contracts

      174   10/9/20    X            6/16/20 Resolution of City Council Item #70389

      49    10/13/20         X      Resolution to Set a 12% Aspirational Goal for
                                    Minority-Owned Business Participation in City
                                    Contracts

20          “     “    X            Minority Business Council documents

429         “     “          X      Awards and Expenditure to Minority, Women and
                                    Service Disabled Veteran-Owned Businesses, FY2019
                                    Annual Report

464         “     “          X      Resolution of City Council Item #70105, 2/18/20

298         10/13/20         X      2018 Disparity Study



                                                         Quentin Kidd

      83    10/13/20         X      Expert Report of Dr. Q. Kidd, Response to Spencer
                                    and Lichtman

454         “     “    X            Quentin Kidd deposition

      DDX   “     “    X            Appendix B Updated At-Large Election Estimates
      2

500         “     “          X      Chart drawn by Dr. Douglas Spencer

455         10/13/20   X            Virginian Pilot Article date 10/11/16, “Virginia
                                    Beach light rail referendum is in a dead heat,
                                    according to new poll”




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172   10/14/20         X      Commonwealth of Virginia Official Results 2019
                              November General

129   “     “          X      United States Census 2010 Questionnaire

130   “     “          X      United States Census 2020 Questionnaire

41    “     “          X      Virginia Beach City, VA: Profile of General
                              Population and 2010 Demographic Profile Data

155   “     “          X      David L. Hansen Deposition Designations 8/23/19

156   10/14/20         X      Robert M. Dyer Deposition Designations 9/11/19

157   “     “          X      Aaron R. Rouse Deposition Designations 9/11/19

160   “     “          X      John D. Moss Deposition Designations 9/13/19

162   “     “          X      Louis R. Jones Deposition Designations 10/2/19

163   “     “          X      Jessica Abbott Deposition Designations 10/3/19

164   10/14/20         X      Rosemary A. Wilson Deposition Designations 10/3/19

175   10/14/20         X      James Wood Deposition Designations 9/09/19
